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           EXHIBITD
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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


   * * * * * * * * * * * * * * * * * *
                                              *
   JOHN DOE,                                   *
                                               *
                       Plaintiff,              *
                                               *   1:19 - cv-13 - JL
                  v.                           *   Janu ary 24, 2019
                                               *   9:56 a.m.
   TRUSTEES OF DARTMOUTH COLLEGE,              *
                                               *
                       Defendant.              *
                                       *
   * * *   * * * * * * * * * * * * * * *

    REDACTED TRANSCRIPT OF MOTI ON FOR PRELIMINARY INJUNCTI ON
           BEFORE THE HONORABLE JOSEPH N. LAPLANTE


  Appearances :


   For the Plaint iff :          William E. Christie, Esq .
                                 Alexa nder William Campbell,      Esq.
                                 Shaheen & Gordon



  For the    Def~ndant:          Daryl J. Lapp, Esq.
                                 Elizabeth H. Kelly, Esq.
                                 Locke Lord LLP




  Court Repo rter:               Liza W. Dubois, RMR, CRR
                                 Official Court Reporter
                                 U.S. District Court
                                 55 Pleasant Street
                                 Concord, New Hampshire 03301
                                 (603) 225 - 1442
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                                                                                        332

 1      favor of females over males.           I    don't see that in the

 2      record and I       didn't hear any evidence today that would

 3      suggest gender bias to me,          although certainly i t does

 4      appear that Dartmouth's been under a lot of pressure

 5      about gender bias issues and sexual inequity on campus.

 6      There's no question that's          in the air .       And,    frankly,

 7      that's one of the reasons why,             honestly,    this case

 8      probably -- I       don't want to prejudg e anything,            I       have an

 9      open mind if th e motion's filed -- but I               t hink this case

10      likely survives 12 (b)         scrutiny.

11                    I   don't think i t gets dismissed on the

12      complaint.        And that's one of the reasons,          because a

13      jury could probably f ind gender bias here if i t                    want e d

14      to.    I   just don't find a      lik eli hood of success on that,

15      on the T i tle     IX claim.

16                   There's also ev idence here -- I mean,                  I   don't

17      hav e to recount i t all.         There were several

18      investigations by the federal government regarding

19      Dartmouth's handling of sexual misconduct.                    There's a --

20     this ongoing controversy regarding a lawsuit last

21     November against Dartmouth for ignoring sexual

22     harassments by professors -- I              think i t was in the

23     psychology department?           I'm not sure.      You people are

24     nodding from Dartmouth here.            The psychology department,

25     yeah.
